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                                                     RETURN OF SERVICE
                                                    ___   _i____i__   _   __   _   ___ __   _   ==   _   __   _ :__   _____   __   _   ___:__   ___I_   _   _ __ ___ ___   ___




                                        UNITED STATES DISTRICT COURT
                                                   Western District of Texas

Case Number: 1 :20-CV-273-RP

Plaintiff:
U.S. Securities and Exchange Commission
VS.

Defendant:
Meta 1 Coin Trust; et al.

For:
U.S. Securities and Exchange Commission
100 F St NE
Washington, DC 20549

Received by Cavalier CPS to be served on Wanda lronheart Traversie-Warner, 7305 Turner Terrace, North Richland
Hills, TX 76180.

I, Chris Cloud, do hereby affirm that on the 15th day of May, 2020 at 7:21 pin,I:

Served Summons & Amended Complaint; Plaintiff's Ex Parte Application for Orders Freezing Assets and Granting Other
Emergency Relief as to Relief Defendants Wanda lronheart Traversie-Warner, ALfred Dewitt Warner, Jr., and lronheart
Trust; Exhibits; [Proposed] Order Freezing Assets and Granting Other Emergency Relief as to Relief Defendants Wanda
lronhearf Traversie-Warner, ALfred Dewitt Warner, Jr., and lronheart Trust; Memorandum of Law in Support of Ex Parte
Application for Orders Freezing Assets and Granting Other Emergency Relief as to Relief Defendants Wanda lronheart
Traversie-Warner, ALfred Dewitt Warner, Jr., and lronheart Trust with Exhibit A; Order Freezing Assets and Granting
Other Emergency Relief as to Relief Defendants Wanda lronheart Traversie-Warner, ALfred Dewitt Warner, Jr., and
lronheart Trust personally to Wanda lronheart Traversie-Warner at 7305 Turner Terrace, North Richland Hills, TX 76180.

Additional Information pertaining to this Service:
She refused to take the documents in hand and screamed numerous things at me, including being diplomatic status, a
private entity, and she does not except contracts. I set the documents on the bench next to her and informed her that it was a
summons and complaint. She kicked the papers off, hit me in the leg, and then kicked them toward me several more times.


I am a natural person over the age of eighteen and am not a party to or otherwise interested in the subject matter in
controversy. I am a private process server authorized to serve this process in accordance with relevant law. Under penalty of
perjury, I declare that the foregoing is true and correct.




                                                                                                                                                                       Cavalier CPS
                                                                                                                                                                       823-C S King Street
                                                                                                                                                                       Leesburg, VA 20175
                                                                                                                                                                       (703) 43117085

                                                                                                                                                                       Our Job Serial Number: CAV-2020004641
                                                                                                                                                                       Ref: FWRO-57113


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AO 440 (Rev.   06/12)   Summons   in a Civil   Action



                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                              Western District of Texas


   SECURITIES AND EXCHANGE COMMISSION,

                                                                          )




                              Plaint(ff(s)
                                     V.                                             Civil Action No.   1   :20-cv-273-RP

 Meta   1   Coin Trust, Robert P. Dunlap, individually and                 )

                d/b/a Clear International Trust,                           )

            Nicole Bowdler, and David A. Schmidt,

                             Defendant(s)                                  'I

and Pramana Capital, Inc.. Peter K. Shamoun, alk!a Peter K. Shamoon, Wanda Ironheart Traversie-
Warmer. Alfred Dewitt Warner. Jr.. and Ironheart Trust. Relief Defendants

To: (Defendant's name and address) Wanda Ironheart Traversie-Warner
                                                7305 Turner Terrace
                                                North Richiand Hills, Texas 76180




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or     (3)
                      you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Ciyil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jennifer D. Reece
                                                United States Securities and Exchange Commission
                                                Burnett Plaza, Suite 1900
                                                801 Cherry Street, Unit 18
                                                Fort Worth, Texas 76102



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                       CLERK OF COURT


Date:          May 14, 2020
                                                                                                 Signature ofClerk or Deputy Clerk
                                 Case 1:20-cv-00273-RP Document 59
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AO 440 (Rev. 06/12)           Summons   in a Civil   Action (Page 2)


 Civil Action No.                1   :20-cv-273-RP

                                                               PROOF OF SERVICE
                               (This section should not be filed with the court unless required by Fed. R. Civ. P. 4                     (1))


           This summons for (name of individual and title,                      f any)
 was received by me on (date)


                   J    I personally served the summons on the individual at (place)
                                                                                                   On (date)                               ;    or

           i            I left the summons at the individual's residence or usual place of abode with (name)
                                                                                     a person of suitable age and discretion who resides there,
           on (date)                                              , and   mailed a copy to the individual's last known address; or

                   J    I   served the summons on (name of individual)                                                                                  who is

               designated by law to accept service of process on behalf of (name of organization)
                                                                                                   on (date)                                    or

            1J I            returned the summons unexecuted because                                                                                         or

                        Other    ('specify):




            My fees are $                                         for travel and $                      for services, for a total of $               0.00


               I       declare under penalty of perjury that this information is true.



  Date
                                                                                                               Server's signature



                                                                                                           Printed name and title




                                                                                                               Server 's address


  Additional information regarding attempted service, etc:
